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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

                                                                     )
    In re:                                                           )    Chapter 11
                                                                     )
    YELLOW CORPORATION, et al.,1                                     )    Case No. 23-11069 (CTG)
                                                                     )
                              Debtors.                               )    (Jointly Administered)
                                                                     )
                                                                     )    Re: Docket Nos. 344, 364, 429


       NOTICE OF EXTENSION OF TIME TO RESPOND TO MOTION TO LIFT THE
                             AUTOMATIC STAY

       WHEREAS, on August 6, 2023, the above-captioned debtors and debtors in possession
(the “Debtors”) filed voluntary petitions for relief under title 11 of the United States Code in the
United States Bankruptcy Court for the District of Delaware (the “Court”); and

       WHEREAS, on August 24, 2023, Myriam Binette (the “Movant,” and together with the
Debtors, the “Parties”) filed the Motion to Remove Stay [Docket No. 344] (the “Motion”), pursuant
to which the deadline for filing a response was set for September 8, 2023 (the “Response
Deadline”) and the hearing date for the Motion was set for September 15, 2023, at 11:30 a.m. (ET)
(the “Hearing Date”); and

        WHEREAS, on September 8, 2023, the Court entered the Order Approving the Joint
Stipulation Certification of Counsel Regarding the Joint Stipulation by and Among the Debtors
and Myriam Binette to (I) Extend the Deadline to Respond to Motion to Lift the Automatic Stay
and (II) Extend the Hearing Date Related Thereto [Docket No. 429] (the “Order”); and

       WHEREAS, by the Order, the Response Deadline was extended through and including
October 9, 2023 and the Hearing Date was extended through and including October 23, 2023 at
10:00 a.m. (ET); and

        WHEREAS, paragraph 6 of the Order provides that the Parties may mutually agree to
further extensions of the Response Deadline and/or Hearing Date by filing a notice with the Court
reflecting such extensions.


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      A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of Debtors’ principal
      place of business and the Debtors’ service address in these chapter 11 cases is: 11500 Outlook Street, Suite 400,
      Overland Park, Kansas 66211.



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       PLEASE TAKE NOTICE, that the Parties have mutually agreed to extend the Response
Deadline through and including October 12, 2023, at 4:00 p.m. (ET).



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Dated: October 5, 2023
Wilmington, Delaware

/s/ Peter J. Keane__________________
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